            Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 1 of 40




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 ONSTREAM MEDIA CORPORATION,

                              Plaintiff,                 Case No. 6:19-cv-00708

                  v.

                                                          Jury Trial Demanded
 FACEBOOK, INC.,

                             Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Onstream Media Corporation (“Onstream”) files this Complaint against

Facebook, Inc. (“Facebook”) for patent infringement of United States Patent Nos.

9,161,068; 9,467,728; 10,038,930; and 10,200,648 (the “patents-in-suit”) (Exhibits 1-4) and

alleges as follows:

                                NATURE OF THE ACTION

       1.       This is an action for patent infringement arising under the patent laws of

the United States, 35 U.S.C. §§ 1 et seq.

                                           THE PARTIES

       2.       Plaintiff Onstream Media Corporation is a corporation organized under

laws of the State of Florida with its principal place of business at 1451 W. Cypress Creek

Rd., No. 204, Ft. Lauderdale, FL 33309.
            Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 2 of 40




       3.       On information and belief, Defendant Facebook, Inc. is incorporated

under the laws of the State of Delaware with its principal place of business at 1 Hacker

Way, Bldg. 10, Menlo Park, CA 94025-1456.

       4.       Facebook may be served with process through its registered agent,

Corporation Service Company, DBA CSC – Lawyers Inco, 211 East 7 th Street, Suite 620,

Austin, Texas 78701.

       5.       On information and belief, since about April 2009, Facebook has been

registered to do business in the state of Texas under Texas SOS file number 0801108427.

                                 JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because this action arises under the patent laws of the United

States, 35 U.S.C. §§ 1 et seq.

       7.       Facebook is subject to this Court’s personal jurisdiction, in accordance

with due process and/or the Texas Long Arm Statute because, in part, Facebook

“[r]ecruits Texas residents, directly or through an intermediary located in this state, for

employment inside or outside this state.” See Tex. Civ. Prac. & Rem. Code § 17.042.

       8.       This Court has personal jurisdiction over Facebook because it committed

and continues to commit acts of infringement in this judicial district in violation of 35

U.S.C. §§ 271(a) and (b). In particular, on information and belief, Facebook has made,

used, offered to sell and/or sold infringing products, services and/or systems in this

judicial district.




                                              2
             Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 3 of 40




        9.       On information and belief, Facebook is subject to the Court’s jurisdiction

because it regularly conducts and solicits business, or otherwise engages in other

persistent courses of conduct in this district, and/or derives substantial revenue from

the sale and distribution of goods and services provided to individuals and businesses

in this district.

        10.      This Court has personal jurisdiction over Facebook because, inter alia,

Facebook, on information and belief: (1) has committed acts of patent infringement in

this judicial district, (2) has substantial, continuous, and systematic contacts with this

State and this judicial district; (3) owns, manages, and operates facilities in this State

and this judicial district; (4) enjoys substantial income from its operations and sales in

this State and this judicial district; (5) employs Texas residents in this State and this

judicial district, and (6) solicits business and markets products, systems and/or services

in this State and judicial district including, without limitation, the infringing Facebook

Live platform and related products and services (“Facebook Live”).

        11.      Venue is proper pursuant to 28 U.S.C. §§ 1391(b), (c), (d) and/or 1400(b),

at least because Facebook, either directly or through its agents, has committed acts of

infringement in this district, and has a regular and established place of business in this

district.




                                               3
         Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 4 of 40




       12.    On information and belief, since at least as early as 2010, Facebook has

had a regular and established place of business in this judicial district. 1

       13.    On information and belief, Facebook maintains a significant physical

presence in this district. For example, Facebook has a large corporate office located at

700 E. 3rd Street, Austin TX 78701, 2 (“The Facebook Austin Office”), which is within this

judicial district, and which Facebook uses as an established place of business.

       14.    On information and belief, Facebook’s website indicates that it maintains

an office location in Austin, Texas:




See https://www.facebook.com/careers/locations/?job_region=North%20America



1https://austin.curbed.com/2017/6/15/15801004/facebook-austin-office-expansion-
design
2On information and belief, the Facebook Austin Office is housed in a large office
building, known as “Third and Shoal” with multiple addresses listed including: 700 E.
3rd Street, Austin TX 78701; 601 W. 3rd Street, Austin TX 78701;


                                              4
           Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 5 of 40




         15.   On information and belief, The Facebook Austin Office is “Facebook’s

fourth largest office.”3

         16.   On information and belief, The Facebook Austin Office “takes up most of

the space at the new Third + Shoal building.” 4 On information and belief, the Third and

Shoal building housing The Facebook Austin Office is a 29-story, 345,000 SF Class AA

office building:




See http://www.thirdandshoal.com/building/features.html .



3   See https://austin.curbed.com/2019/9/4/20849712/facebook-new-office-austin-open

4   See https://austin.curbed.com/2019/9/4/20849712/facebook-new-office-austin-open


                                            5
           Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 6 of 40




         17.   On information and belief, “Facebook occupies more than 256,500 [square

feet] of [the Third and Shoal Building] —floors 14-24, specifically, or 11 floors total, with

room for at least 1,550 workers.”5

         18.   On information and belief, Facebook currently “employs more than 1,200

people in the city [of Austin].” 6

         19.   On information and belief, The Facebook Austin Office is emblazoned

with signage indicating Facebook’s operation of a regular and established business at

The Facebook Austin Office location:




See
https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C%20T
X

5   See https://austin.curbed.com/2019/9/4/20849712/facebook-new-office-austin-open
.

6   See https://austin.curbed.com/2019/9/4/20849712/facebook-new-office-austin-open


                                              6
         Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 7 of 40




See https://austin.curbed.com/2019/9/4/20849712/facebook-new-office-austin-open

       20.    On information and belief, as of the time of the filing of this complaint,

Facebook maintains, or has previously maintained, a number of additional offices in the

judicial district including at 11601 Altera Pkwy., Austin TX 78758; 300 W. 6 th Street,

Austin TX 78701; and 13011 McCallen Pass, Building D, Austin, TX 78753.

       21.    On information and belief, the Travis County Appraisal District website

indicates that Facebook owns property in the judicial district in the appraised sum of

$26,976,598, located at 300 W. 6th Street 1000 Austin, Texas 78701; 600 Congress Avenue

1700 Austin, Texas 78701; 221 W. 6th Street 300 Austin, Texas 78701; 11601 Alterra

Parkway 1000 Austin, Texas 78758; and 11801 Domain Dr., Fl. 2, Austin, Texas 78758:



                                             7
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 8 of 40




See http://propaccess.traviscad.org/clientdb/SearchResults.aspx .

      22.    On information and belief, Facebook uses The Facebook Austin Office as a

regular and established business location because this corporate office location is home

to numerous of Facebook’s important employee teams, 7 including the Advertising

Technology Team, 8 the Software Engineering Team, 9 the Legal, Finance, Facilities &

Admin Team, 10 the Enterprise Engineering Team, 11 the People & Recruiting Team, 12




7See
https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C%20T
X
8See https://www.facebook.com/careers/areas-of-
work/adtech/?teams%5B0%5D=Advertising+Technology
9See https://www.facebook.com/careers/areas-of-
work/engineering/?teams%5B0%5D=Software+Engineering

 See https://www.facebook.com/careers/areas-of-
10

work/legal/?teams%5B0%5D=Legal%2C+Finance%2C+Facilities+%26+Admin

 See https://www.facebook.com/careers/areas-of-
11

work/ee/?teams%5B0%5D=Enterprise+Engineering

 See https://www.facebook.com/careers/areas-of-
12

work/people/?teams%5B0%5D=People+%26+Recruiting


                                            8
         Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 9 of 40




the Infrastructure Team, 13 the Data & Analytics Team, 14 the online Operations Team, 15

the Sales & Marketing Team,16 the Creative Team, 17 and the WhatsApp Team.18

       23.    On information and belief, Facebook is currently advertising

approximately 111 open positions in Austin, Texas:




See
https://www.facebook.com/careers/locations/austin/?locations[0]=Austin%2C%20T
X
       24. On information and belief, Facebook has posted job advertisements for

senior and high-level employees, who would be assigned to work in The Facebook

Austin Office, including to fill positions with the title of: “Director, Product Surface




 See https://www.facebook.com/careers/areas-of-
13

work/infrastructure/?teams%5B0%5D=Infrastructure

 See https://www.facebook.com/careers/areas-of-
14

work/data/?teams%5B0%5D=Data+%26+Analytics
15See https://www.facebook.com/careers/areas-of-work/online-
ops/?teams%5B0%5D=Online+Operations

 See https://www.facebook.com/careers/areas-of-
16

work/marketing/?teams%5B0%5D=Sales+%26+Marketing

 See https://www.facebook.com/careers/areas-of-
17

work/creative/?teams%5B0%5D=Creative

 See https://www.facebook.com/careers/areas-of-
18

work/whatsapp/?teams%5B0%5D=WhatsApp


                                              9
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 10 of 40




Operations,”19 “Director, Global Travel & Expense,” 20 “Director, Employee

Experience,”21 “HR Strategy & Planning Director,”22 “Director, Small Business Sales

Development,”23 “Head of Workforce Analytics,”24 “Engineering Manager, Global

Operations Engineering,”25 “Director, HR Technology,”26 and “Director of Technical

Program Management –Business Process & Technology.”27

         25.   On information and belief, publicly-available information lists 127 H-1B

labor applications that Facebook filed for persons employed in Austin, Texas since

2012.28 On information and belief, the workers Facebook employs in the judicial district,

including but not limited to those workers holding, or who have held, H-1B visas, are

highly specialized and important to the regular operation of Facebook because workers

holding an H-1B visa are employed in a specialty occupation that requires a “theoretical


19   See https://www.facebook.com/careers/jobs/321066832162158/
20   See https://www.facebook.com/careers/jobs/656885448126418/
21   See https://www.facebook.com/careers/jobs/455834811944260/

22   See https://www.facebook.com/careers/jobs/244882266445193/
23   See https://www.facebook.com/careers/jobs/2497909053765133/
24   See https://www.facebook.com/careers/jobs/2366617050111916/
25   See https://www.facebook.com/careers/jobs/415061299214713/

26   See https://www.facebook.com/careers/jobs/2425846344351399/
27   See https://www.facebook.com/careers/jobs/2520284711370769/
28See
https://h1bsalary.online/index.php?searchtext=FACEBOOK+INC&year=&minsalary=
&state=Texas&worksite_city=austin&job_title=


                                            10
         Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 11 of 40




and practical application of a body of highly specialized knowledge . . . and attainment

of a bachelor’s or higher degree in the specific specialty. . . . “ See generally 8 U.S.C. §

1184.

        26.   On information and belief, the accused products and services offered by

Facebook including but not limited to Facebook Live, that Facebook uses, makes,

markets, distributes, offers to sell, and sells to consumers throughout the United States

and in this judicial district, infringe one or more of the claims of the patents-in-suit,

were/are made by, were/are developed by, were/are marketed by, were/are

supported by, or were/are serviced by employees located in the judicial district who

work at one or more of Facebook’s regular and established business locations in the

judicial district, including without limitation, The Facebook Austin Office.

        27.   On information and belief, Facebook derives substantial revenue within

the judicial district from the offer of infringing services, including but not limited to

Facebook Live. On information and belief, thousands of Facebook users who reside in

the judicial district regularly use the accused Facebook Live system and services while

they are present in the judicial district.

        28.   On information and belief, the users of the infringing Facebook Live

system who are located in the judicial district include, for example, the City of Austin,

which hosted a “Facebook Live Panel Discussion” from the Austin City Hall, on or




                                               11
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 12 of 40




about April 30, 2019.29 On Information and belief, access to the “Facebook Live Panel

Discussion” was, and as of the time of the filing of the instant lawsuit, still is available

through Facebook’s website:




See
https://www.facebook.com/ATXMusicOffice/videos/1095472340640848/?eid=ARDA
QoKECwuepst4gtpVo1QA64hoXD8FJ_EKMPVH0l4n0ryTvZyq0lJ2TeWN3iuyMHKRg
Ao84R_zNw3p

                                United States Patent No. 9,161,068

       29.    On October 13, 2015, the United States Patent and Trademark Office

(“USPTO”) duly and legally issued United States Patent No. 9,161,068 (“the ’068

patent”) entitled “Remotely Accessed Virtual Recording Room” to inventor Gregory

Duane Ellis. A true and correct copy of the ’068 patent is attached as Exhibit 1.

       30.    The ’068 patent is presumed valid under 35 U.S.C. § 282.

       31.    Onstream owns all rights, title, and interest in the ’068 patent.




29See https://austintexas.gov/news/city-austin-host-facebook-live-panel-discussion-
venue-sustainability


                                              12
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 13 of 40




       32.     Onstream has not granted Facebook a license to the rights under the ’068

patent.

       33.     The ’068 patent relates to, among other things, an audio and video stream

recording, storage and delivery system.

       34.     The claimed invention(s) of the ‘068 patent sought to solve problems with,

and improve upon, existing audio and video recording, storage, delivery systems. For

example, the ‘068 patent states:

       Unfortunately, new systems and methods for increasing the capabilities of
       online business-related communications and transactions often result in
       increased intellectual complexity and/or increased computer system
       requirements. This tendency is undesirable because another main avenue
       for increasing the productively of online business-related communications
       and transactions is to increase the number of people who are participating
       in these online business-related transactions.

See ’068 Specification at col. 1, ll. 31-39.

       35.     The ‘068 patent then states:

       Accordingly, it would be highly valuable if any new systems and methods
       for increasing the capabilities of online business-related communications
       and transactions also could be simple enough to help attract new users to
       the online business market and also not have extensive computer system
       requirements.

See ’068 Specification at col. 1, ll. 39-44.

       36.     The ‘068 patent then also states:

       Accordingly, there has been a long existing need for a system that improves
       the level of communication possible with respect to online business-related
       transactions. Further, there is a continuing need for an improved system
       and/or method that is simple, efficient, and does not have extensive
       computer system requirements. Accordingly, those skilled in the art have
       long recognized the need for a system and method that addresses these and
       other issues.

                                               13
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 14 of 40




See ’068 Specification at col. 1, ll. 45-52.

       37.      The invention(s) claimed in the ’068 patent solves various technological

problems inherent in the then-existing audio and video recording, storage, and delivery

systems and enables audio and video recording, storage, and delivery systems to,

among other things, (1) function more efficiently, (2) lower the required level of

expertise for users of such systems, (3) avoid the need to install and burden front end

computer and electronic devices with additional software, (4) reduce or eliminate

entirely the need for local memory storage devices and other specialized recording

equipment, and (5) reduce or eliminate other hardware and software requirements

inherent in prior art audio and video recording and distribution systems.

                                  United States Patent No. 9,467,728

       38.      On October 11, 2016, the USPTO duly and legally issued United States

Patent No. 9,467,728 (“the ’728 patent”) entitled “Remotely Accessed Virtual Recording

Room” to inventor Gregory Ellis. A true and correct copy of the ’728 patent is attached

as Exhibit 2.

       39.      The ’728 patent is presumed valid under 35 U.S.C. § 282.

       40.      Onstream owns all rights, title, and interest in the ’728 patent.

       41.      Onstream has not granted Facebook a license to the rights under the ’728

patent.

       42.      The ’728 patent relates to, among other things, an audio and video stream

recording, storage and delivery system.



                                               14
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 15 of 40




       43.       The specification of the ’728 patent is the same as the ’068 patent

specification, and addresses and solves the problems recited above and described in the

’728 patent specification.

                                 United States Patent No. 10,038,930

       44.       On July 31, 2018 the USPTO duly and legally issued United States Patent

No. 10,038,930 (“the ’930 patent”) entitled “Remotely Accessed Virtual Recording

Room” to inventor Gregory Duane Ellis. A true and correct copy of the ’930 patent is

attached as Exhibit 3.

       45.       The ’930 patent is presumed valid under 35 U.S.C. § 282.

       46.       Onstream owns all rights, title, and interest in the ’930 patent.

       47.       Onstream has not granted Facebook a license to the rights under the ’930

patent.

       48.       The ’930 patent relates to, among other things, an audio and video stream

recording, storage and delivery system.

       49.       The claimed invention(s) of the ’930 patent sought to solve problems with,

and improve upon, existing audio and video recording, storage, delivery systems. The

specification of the ’930 patent is the same as the ’068 patent specification, and

addresses and solves the problems recited above and described in the ’930 patent

specification.

                                 United States Patent No. 10,200,648

       50.       On February 5, 2019, the USPTO duly and legally issued United States

Patent No. 10,200,648 (“the ’648 patent”) entitled “Remotely Accessed Virtual Recording

                                                15
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 16 of 40




Room” to inventor Gregory Duane Ellis. A true and correct copy of the ’648 patent is

attached as Exhibit 4.

         51.     The ’648 patent is presumed valid under 35 U.S.C. § 282.

         52.     Onstream owns all rights, title, and interest in the ’648 patent.

         53.     Onstream has not granted Facebook a license to the rights under the ’648

patent.

         54.     The ’648 patent relates to, among other things, an audio and video stream

recording, storage and delivery system.

         55.     The claimed invention(s) of the ’648 patent sought to solve problems with,

and improve upon, existing audio and video recording, storage, delivery systems. The

specification of the ’648 patent is the same as the ’068 patent specification, and

addresses and solves the problems recited above and described in the ’648 patent

specification.

                                     CLAIMS FOR RELIEF

               Count I – Infringement of United States Patent No. 9,161,068

         56.     Onstream repeats, realleges, and incorporates by reference, as if fully set

forth here, the allegations of the preceding paragraphs above.

         57.     On information and belief, Facebook is the developer, owner, and

operator of an online video streaming service called “Facebook Live.” 30




30   See https://www.facebook.com/facebookmedia/solutions/facebook-live .


                                                16
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 17 of 40




       58.    On information and belief, Facebook (or those acting on its behalf) makes,

uses, and provides Facebook Live and sells and/or offers to sell products and services

in the United States that use Facebook Live as a feature or component. Facebook Live,

as well as the hardware and software components comprising the system that enables

the Facebook Live service to operate, including but not limited to servers, server

software, client software, and other computer systems and components (the “Facebook

Live System”), infringes (literally and/or under the doctrine of equivalents) at least

claim 1 of the ‘068 patent.

       59.    On information and belief, the Facebook Live System employs and

provides a method that records audio and video material over an Internet browser

connection established between a user front end and a host back end:




                                            17
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 18 of 40




See https://www.youtube.com/watch?v=fUUIzNJ2BA8&feature=youtu.be. See also
https://blog.hubspot.com/marketing/facebook-live-guide;
https://developers.facebook.com/docs/videos/live-video/getting-started#creating.

         60.   On information and belief, the Facebook Live System, can either be

accessed through a Facebook mobile device application 31 or using an Internet browser

on a desktop computer.32

         61.   On information and belief, when a user wants to “go live” using the

Facebook Live System, Facebook’s servers deliver a code, which can be executed by a

browser, as demonstrated by the screenshot below:




31   See e.g. https://apps.apple.com/us/app/facebook/id284882215.
32 See https://www.facebook.com/help/1636872026560015?helpref=faq_content. See
also https://youtu.be/seuXbX95fKc; http://www.krishna.me/how-to-use-facebook-
live-from-desktop-without-third-party-tools/.


                                            18
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 19 of 40




See https://www.facebook.com/help/1636872026560015?helpref=related.

      62.    On information and belief, the Facebook Live System delivers a code that

enables the streaming of audio and video material, as demonstrated by the example

provided below:




See https://developers.facebook.com/docs/live-video-api/getting-started.

      63.    On information and belief, the Facebook Live System delivers a browser-

executable-code that is a browser independent recording application that initiates the

audio and video stream to be recorded.

      64.    On information and belief, the Facebook Live System delivers a code that

is browser independent, in part, because a user can record audio and video material

without requiring specialized recording equipment, software, or coding as

demonstrated by the example below:




                                           19
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 20 of 40




See e.g., https://blog.hootsuite.com/facebook-live-video/.

       65.    On information and belief, the Facebook Live System delivers a code that

is executed though a browser at the user front end.

       66.    On information and belief, the Facebook Live System uses an Internet

connection, as demonstrated by the black screen that is displayed when a user’s device

is unable to access the internet:




                                           20
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 21 of 40




      67.    The Facebook Live System employs and provides a method wherein audio

and video material is streamed over the Internet as the audio and video material is

captured by a recording device, as demonstrated by the screen capture below:




See https://youtu.be/fUUIzNJ2BA8.




                                           21
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 22 of 40




         68.   On information and belief, the Facebook Live System uses and provides a

method wherein audio and video material is captured without using any recording

software installed on the user front end.33

         69.   On information and belief, the Facebook Live System uses and provides a

method that does not require transmission of a complete audio and video file from the

user front end. Rather, on information and belief, a stream of audio and video material

is transmitted to Facebook’s servers as the audio and video material is being captured.

         70.   On information and belief, the Facebook Live System uses and provides a

method wherein the audio and video recordings are made and stored on the host back

end as a complete file as demonstrated by the screen capture below:




See https://youtu.be/fUUIzNJ2BA8.



33   See https://blog.hubspot.com/marketing/facebook-live-guide.


                                              22
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 23 of 40




       71.    On information and belief, the Facebook Live System uses and provides a

method wherein after the recording of audio and video material is complete, Facebook

provides access to the entire audio and video recording through its website, which is

hosted on Facebook’s servers, as demonstrated by the screen capture below:




See https://youtu.be/fUUIzNJ2BA8.

       72.    On information and belief, Facebook directly infringes at least claims 1, 18,

35, and 48 of the ’068 patent, and is in violation of 35 U.S.C. § 271(a) by using and

providing to others, the Facebook Live System.

       73.    On information and belief, Facebook has been on notice of the ’068 patent

at least as early as the filing and service of the Complaint in this action.

       74.    On information and belief, at least since its post-filing knowledge of the

’068 patent, Facebook knowingly encourages, and continues to encourage, customers to



                                              23
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 24 of 40




directly infringe one or more claims of the ’068 patent, including by Facebook’s actions

that include, without limitation, instructing and encouraging customers to use the

Facebook Live through user guides,34 advertisements35, promotional materials and

instructions.36




See https://youtu.be/w9qzmK4jozA.

         75.   On information and belief, at least since its post-filing knowledge of the

’068 patent, Facebook knows that the acts Facebook induced customers to take

constitute patent infringement and Facebook’s encouraging acts result in direct

infringement by customers.




34   See e.g. https://www.facebook.com/help/1636872026560015?helpref=faq_content.
35   See e.g. https://youtu.be/w9qzmK4jozA.

36   See e.g. https://www.facebook.com/facebookmedia/solutions/facebook-live.


                                             24
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 25 of 40




       76.    On information and belief, Facebook instructs and continues to instruct

customers to use Facebook Live including, without limitation, through Facebook’s

websites, which provides access to, and support for, using the Facebook Live System.

       77.    On information and belief, Facebook’s customers directly infringe at least

claims 1, 18, 35, and 48 of the ’068 patent through their use of the Facebook Live System.

       78.    On information and belief, Facebook is in violation of 35 U.S.C. § 271(b)

and has been, at least since its post-filing knowledge of the ’068 patent, indirectly

infringing and continues to indirectly infringe at least claims 1, 18, 35, and 48 of the ’068

patent by knowingly and specifically intending to induce infringement by others

(including, without limitation, Facebook’s users) and possessing specific intent to

encourage infringement by Facebook’s users. The components of the Facebook Live

System are specifically configured to function in accordance with the ’068 patent claims,

are material parts of the invention.

       79.     Facebook’s direct and/or indirect infringement has damaged Onstream

and caused it to suffer and continue to suffer irreparable harm and damages as a result

of Facebook’s infringement.

                 Count II – Infringement of United States Patent No. 9,467,728

       80.    Onstream repeats, realleges, and incorporates by reference, as if fully set

forth here, the allegations of the preceding paragraphs above.




                                             25
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 26 of 40




         81.   On information and belief, Facebook is the developer, owner, and

operator of an online video streaming service called “Facebook Live.” 37

         82.   On information and belief, Facebook (or those acting on its behalf) makes,

uses, and provides Facebook Live and sells and/or offers to sell products and services

in the United States that use Facebook Live as a feature or component. The Facebook

Live System, infringes (literally and/or under the doctrine of equivalents) at least claim

1 of the ’728 patent.

         83.   On information and belief, the Facebook Live System employs and

provides an Internet-based method that records audio and video material over an

Internet browser connection established between a user front end and a host back end:




37   See https://www.facebook.com/facebookmedia/solutions/facebook-live .


                                            26
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 27 of 40




See https://www.youtube.com/watch?v=fUUIzNJ2BA8&feature=youtu.be . See also
https://blog.hubspot.com/marketing/facebook-live-guide;
https://developers.facebook.com/docs/videos/live-video/getting-started#creating .

         84.   On information and belief, the Facebook Live System, including

particularly and without limitation Facebook’s servers, transmits via a network a

platform-independent web application, which initiates the streaming of audio and

video material from a user’s device as the audio and video material is being captured by

that device.

         85.   On information and belief, the Facebook Live System records audio and

video material on Facebook’s servers via the Facebook web application and stores that

audio and video material as a complete file, as demonstrated by the screen capture

below:




See https://youtu.be/fUUIzNJ2BA8.



                                           27
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 28 of 40




       86.    On information and belief, the Facebook Live System generates one or

more codes, including without limitation codes comprising a particular Live Video

Object ID, including but not limited to Universal Resource Locator (URL) and Hyper

Text Mark-Up Language (HTML) codes, which are associated with the recorded and

stored audio and video, to facilitate accessing the recorded and stored audio and video

material from an additional location, such as a location from which another user of the

Facebook Live System is accessing the Facebook Live audio and video material.

       87.    On information and belief, the content of the one or more codes generated

by the Facebook Live System depends on the type of code supported by the additional

location. On information and belief, the content of the one or more codes generated by

the Facebook Live System depends on, among other things, the data transfer protocols

that are supported by the client and/or device from which another user of the Facebook

Live System is accessing the Facebook Live audio and video material.

       88.    On information and belief, the Facebook Live System enables the copying

and pasting of codes associated with the recorded and stored audio and video material,

including without limitation codes comprising a particular Live Video Object ID,

including but not limited to URL and HTML codes, to additional locations, wherein the

activation of such a code provides access to the recorded audio and video from

additional locations.




                                           28
            Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 29 of 40




See e.g.

https://www.facebook.com/help/publisher/167417030499767?id=383172118863825.

           89.   On information and belief, Facebook directly infringes at least claims 1

and 21 of the ’728 patent, and is in violation of 35 U.S.C. § 271(a) by using and

providing to others, the Facebook Live System.

           90.   On information and belief, Facebook has been on notice of the ’728 patent

at least as early as the filing and service of the Complaint in this action.

           91.   On information and belief, at least since its post-filing knowledge of the

’728 patent, Facebook knowingly encourages, and continues to encourage, customers to

directly infringe one or more claims of the ’728 patent, including by Facebook’s actions

that include, without limitation, instructing and encouraging customers to use the

Facebook Live through user guides,38 advertisements39, promotional materials and

instructions.40

           92.   On information and belief, at least since its post-filing knowledge of the

’728 patent, Facebook knows that the acts Facebook induced customers to take

constitute patent infringement and Facebook’s encouraging acts result in direct

infringement by customers.




38   See e.g. https://www.facebook.com/help/1636872026560015?helpref=faq_content.
39   See e.g. https://youtu.be/w9qzmK4jozA.

40   See e.g. https://www.facebook.com/facebookmedia/solutions/facebook-live.


                                               29
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 30 of 40




       93.    On information and belief, Facebook instructs and continues to instruct

customers to use the Facebook Live including, without limitation, through Facebook’s

website, which provides access to, and support for, using the Facebook Live System.

       94.    On information and belief, Facebook’s customers directly infringe at least

claims 1 and 21 of the ’728 patent through their use of the Facebook Live System.

       95.    On information and belief, Facebook is in violation of 35 U.S.C. § 271(b)

and has been, at least since its post-filing knowledge of the ’728 patent, indirectly

infringing and continues to indirectly infringe at least claims 1 and 21 of the ’728 patent

by knowingly and specifically intending to induce infringement by others (including,

without limitation, Facebook’s users) and possessing specific intent to encourage

infringement by Facebook’s users. The components of the Facebook Live System are

specifically configured to function in accordance with the ’728 patent claims, are

material parts of the invention.

       96.     Facebook’s direct and/or indirect infringement has damaged Onstream

and caused it to suffer and continue to suffer irreparable harm and damages as a result

of Facebook’s infringement.

             Count III – Infringement of United States Patent No. 10,038,930

       97.    Onstream repeats, realleges, and incorporates by reference, as if fully set

forth here, the allegations of the preceding paragraphs above.




                                             30
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 31 of 40




         98.    On information and belief, Facebook is the developer, owner, and

operator of an online video streaming service called “Facebook Live.” 41

         99.    On information and belief, Facebook (or those acting on its behalf) makes,

uses, and provides Facebook Live and sells and/or offers to sell products and services

in the United States that use Facebook Live as a feature or component. The Facebook

Live System infringes (literally and/or under the doctrine of equivalents) at least claim

1 of the ‘930 patent.

         100.   On information and belief, the Facebook Live System employs a method

that transmits via a network a browser-independent recording application from

Facebook’s servers to the devices used by Facebook’s users.

         101.   On information and belief, Facebook’s servers receive a media stream

from the devices used by Facebook’s users.

         102.   On information and belief, the media streams that are transmitted to

Facebook’s servers are captured by the Facebook browser-independent recording

applications, which execute in a browser, as demonstrated by the screen capture below:




41   See https://www.facebook.com/facebookmedia/solutions/facebook-live .


                                             31
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 32 of 40




See https://youtu.be/fUUIzNJ2BA8.

      103.   On information and belief, the Facebook Live System does not require the

installation of record management software to be installed on the devices used by their

users to access the Facebook Live System:




See e.g., https://blog.hootsuite.com/facebook-live-video/.

      104.   On information and belief, the media streams generated by the users of

the Facebook Live System are recorded on Facebook’s servers using the Facebook client,

which is a browser-independent recording application:




                                            32
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 33 of 40




See https://www.youtube.com/watch?v=fUUIzNJ2BA8&feature=youtu.be . See also
https://blog.hubspot.com/marketing/facebook-live-guide;
https://developers.facebook.com/docs/videos/live-video/getting-started#creating .

       105.   On information and belief, Facebook directly infringes at least claims 1

and 11 of the ’930 patent, and is in violation of 35 U.S.C. § 271(a) by using and

providing to others, the Facebook Live System.

       106.   On information and belief, Facebook has been on notice of the ’930 patent

at least as early as the filing and service of the Complaint in this action.

       107.   On information and belief, at least since its post-filing knowledge of the

’930 patent, Facebook knowingly encourages, and continues to encourage, customers to

directly infringe one or more claims of the ’930 patent, including by Facebook’s actions

that include, without limitation, instructing and encouraging customers to use the




                                              33
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 34 of 40




Facebook Live through user guides,42 advertisements43, promotional materials and

instructions.44

         108.   On information and belief, at least since its post-filing knowledge of the

’930 patent, Facebook knows that the acts Facebook induced customers to take

constitute patent infringement and Facebook’s encouraging acts result in direct

infringement by customers.

         109.   On information and belief, Facebook instructs and continues to instruct

customers to use the Facebook Live including, without limitation, through Facebook’s

website, which provides access to, and support for, using the Facebook Live System.

         110.   On information and belief, Facebook’s customers directly infringe at least

claims 1 and 11 of the ’930 patent through their use of the Facebook Live System.

         111.   On information and belief, Facebook is in violation of 35 U.S.C. § 271(b)

and has been, at least since its post-filing knowledge of the ’930 patent, indirectly

infringing and continues to indirectly infringe at least claims 1 and 11 of the ’930 patent

by knowingly and specifically intending to induce infringement by others (including,

without limitation, Facebook’s users) and possessing specific intent to encourage

infringement by Facebook’s users. The components of the Facebook Live System are




42   See e.g. https://www.facebook.com/help/1636872026560015?helpref=faq_content.
43   See e.g. https://youtu.be/w9qzmK4jozA.

44   See e.g. https://www.facebook.com/facebookmedia/solutions/facebook-live.


                                              34
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 35 of 40




specifically configured to function in accordance with the ’930 patent claims, are

material parts of the invention.

         112.   Facebook’s direct and/or indirect infringement has damaged Onstream

and caused it to suffer and continue to suffer irreparable harm and damages as a result

of Facebook’s infringement.

                 Count IV – Infringement of United States Patent No. 10,200,648

         113.   Onstream repeats, realleges, and incorporates by reference, as if fully set

forth here, the allegations of the preceding paragraphs above.

         114.   On information and belief, Facebook is the developer, owner, and

operator of an online video streaming service called “Facebook Live.” 45

         115.   On information and belief, Facebook (or those acting on its behalf) makes,

uses, and provides Facebook Live and sells and/or offers to sell products and services

in the United States that use Facebook Live as a feature or component. The Facebook

Live System, infringes (literally and/or under the doctrine of equivalents) at least claim

1 of the ’648 patent.

         116.   On information and belief, the Facebook Live System employs an Internet-

based recording method that performs all of its audio and video recording functions

over an Internet browser connection established between a user front end and a host

back end:




45   See https://www.facebook.com/facebookmedia/solutions/facebook-live .


                                              35
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 36 of 40




See https://www.youtube.com/watch?v=fUUIzNJ2BA8&feature=youtu.be . See also
https://blog.hubspot.com/marketing/facebook-live-guide;
https://developers.facebook.com/docs/videos/live-video/getting-started#creating .

       117.   On information and belief, the Facebook Live System records audio and

video material that is created by a user over an internet browser connection, without

requiring recording functionality to be present in the user’s device.

       118.   On information and belief, the Facebook Live System stores audio and

video material on Facebook’s servers.

       119.   On information and belief, the Facebook Live System generates one or

more codes, including without limitation codes comprising a particular Live Video

Object ID, including but not limited to URL and HTML codes, associated with the

recorded and stored audio and video, to facilitate accessing the recorded and stored

audio and video material.



                                            36
            Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 37 of 40




           120.   On information and belief, the Facebook Live System enables the copying

and pasting of code, including without limitation codes comprising a particular Live

Video Object ID, including but not limited to URL and HTML codes, to additional

locations, wherein the activation of such a code provides access to the recorded audio

and video from additional locations.




See e.g.

https://www.facebook.com/help/publisher/167417030499767?id=383172118863825.

           121.   On information and belief, Facebook directly infringes at least claims 1

and 18 of the ’648 patent, and is in violation of 35 U.S.C. § 271(a) by using and

providing to others, the Facebook Live System.

           122.   On information and belief, Facebook has been on notice of the ’648 patent

at least as early as the filing and service of the Complaint in this action.

           123.   On information and belief, at least since its post-filing knowledge of the

’648 patent, Facebook knowingly encourages, and continues to encourage, customers to

directly infringe one or more claims of the ’648 patent, including by Facebook’s actions

that include, without limitation, instructing and encouraging customers to use the




                                                37
          Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 38 of 40




Facebook Live through user guides,46 advertisements47, promotional materials and

instructions.48

         124.   On information and belief, at least since its post-filing knowledge of the

’648 patent, Facebook knows that the acts Facebook induced customers to take

constitute patent infringement and Facebook’s encouraging acts result in direct

infringement by customers.

         125.   On information and belief, Facebook instructs and continues to instruct

customers to use the Facebook Live including, without limitation, through Facebook’s

website, which provides access to, and support for, using the Facebook Live System.

         126.   On information and belief, Facebook’s customers directly infringe at least

claims 1 and 18 of the ’648 patent through their use of the Facebook Live System.

         127.   On information and belief, Facebook is in violation of 35 U.S.C. § 271(b)

and has been, at least since its post-filing knowledge of the ’648 patent, indirectly

infringing and continues to indirectly infringe at least claims 1 and 18 of the ’648 patent

by knowingly and specifically intending to induce infringement by others (including,

without limitation, Facebook’s users) and possessing specific intent to encourage

infringement by Facebook’s users. The components of the Facebook Live System are




46   See e.g. https://www.facebook.com/help/1636872026560015?helpref=faq_content.
47   See e.g. https://youtu.be/w9qzmK4jozA.

48   See e.g. https://www.facebook.com/facebookmedia/solutions/facebook-live.


                                              38
        Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 39 of 40




specifically configured to function in accordance with the ’648 patent claims, are

material parts of the invention.

       128.    Facebook’s direct and/or indirect infringement has damaged Onstream

and caused it to suffer and continue to suffer irreparable harm and damages as a result

of Facebook’s infringement.

                                     JURY DEMANDED

       129.   Pursuant to Federal Rule of Civil Procedure 38(b), Onstream hereby

requests a trial by jury on all issues so triable.

                                   PRAYER FOR RELIEF

   Onstream respectfully requests this Court to enter judgment in Onstream’s favor

and against Facebook as follows:

   a. finding that Facebook has infringed one or more claims of the ’068 patent under

       35 U.S.C. §§ 271(a) and/or (b);

   b. finding that Facebook has infringed one or more claims of the ’728 patent under

       35 U.S.C. §§ 271(a) and/or (b);

   c. finding that Facebook has infringed one or more claims of the ’930 patent under

       35 U.S.C. §§ 271(a) and/or (b);

   d. finding that Facebook has infringed one or more claims of the ’648 patent under

       35 U.S.C. §§ 271(a) and/or (b);

   e. awarding Onstream damages under 35 U.S.C. § 284, or otherwise permitted by

       law, including supplemental damages for any continued post-verdict

       infringement;

                                               39
       Case 6:19-cv-00708-ADA Document 1 Filed 12/13/19 Page 40 of 40




   f. awarding Onstream pre-judgment and post-judgment interest on the damages

      award and costs;

   g. awarding cost of this action (including all disbursements) and attorney fees

      pursuant to 35 U.S.C. § 285, or as otherwise permitted by the law; and

   h. awarding such other costs and further relief that the Court determines to be just

      and equitable.



Dated: December 13, 2019                Respectfully submitted,


                                        /s/Raymond W. Mort, III
                                        Raymond W. Mort, III
                                        Texas State Bar No. 00791308
                                        raymort@austinlaw.com

                                        THE MORT LAW FIRM, PLLC
                                        100 Congress Avenue, Suite 2000
                                        Austin, Texas 78701
                                        Tel/Fax: 512-865-7950

                                        Of Counsel:
                                        Ronald M. Daignault (pro hac vice to be filed)
                                        Chandran B. Iyer (pro hac vice to be filed)
                                        Oded Burger (pro hac vice to be filed)
                                        rdaignault@goldbergsegalla.com
                                        ciyer@goldbergsegalla.com
                                        oburger@ goldbergsegalla.com
                                        GOLDBERG SEGALLA LLP
                                        711 Third Avenue, Suite 1900
                                        New York, New York 10017
                                        Telephone: (646) 292-8700

                                        Attorneys for Onstream Media Corporation




                                           40
